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                                 PSJ4 SOL Opp Appendix A


                                  DISCOUNT DRUG MART

         Exhibit No.                Date                         Description
PSJ4 SOL Opp App A Exh 1–                    Tom Nameth preemptively notifies his “gang” to not
DDM00169973                                  order any extra Oxy/APAP, based upon instruction
                                             from McKesson, because it is placing them over the
                                             limit.



                                  ENDO/PAR/QUALITEST

         Exhibit No.                Date                          Description
PSJ4 SOL Opp App A Exh 2– 7/2/2009           Former DEA Chief of the Regulatory Section, Michael
PAR_OPIOID_MDL_00003981                      Mapes reviewed Qualitest’s Order Monitoring Program
74                                           and found that many requests for “several times greater
                                             than the current limit” were cut down, approved, and
                                             released, along with a corresponding increase to the
                                             customer’s product limit.

PSJ4 SOL Opp App A Exh 3– 6/18/2009          Mapes noted: “Each Order Release Request that is
PAR_OPIOID_MDL_00003981                      rejected or modified by QT should be sent to DEA as
75 at 177                                    a suspicious order.”
Stephen Macrides Dep.                        Neither Endo nor UPS have reported a single Endo
(03/15/19), Dkt. # 1966-11 at                order to the DEA as suspicious from 1999 through
103:19 – 109:5                               2019.

Lisa Walker Dep. (12/04/18),
Dkt. # 1971-20 at 65:20 – 68:7


                                  HBC SERVICE COMPANY

         Exhibit No.                Date                         Description
Fred Bencivengo Dep.                         Deposition developed McKesson’s practice of
(01/22/2019), Dkt. # 1959-1 at               preemptively warning Giant Eagle when its
68:2 – 69:17; see also                       pharmacies ordered 60% or more of McKesson’s
                                             internal threshold.
PSJ4 SOL Opp App A Exh 4–
HBC_MDL00136237                  6/26/2013
(Bencivengo Dep. Exh 3)


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PSJ4 SOL Opp App A Exh 5–                        Email from Michael Bianco, Jr. to Joseph Millward,
HBC_MDL00137363                                  CC: Gregory Carlson, Subj: FW: Narcs Found in tote,
                                   10/1/2014
(Michael Bianco Dep.                             October 1, 2014; (Michael Bianco claims to not know
(01/18/19), Dkt # 2804-17 at                     what the warehouse told the DEA, when the exhibit is
Exh 14)                                          clear that HBC told the DEA it did not have HCPs,
                                                 which the exhibit states it did in fact have).
PSJ4 SOL Opp App A Exh 6–
Bianco Dep., Dkt. # 2804-17 at
111:19 – 134:2;
especially: 124:21–23


                                        HENRY SCHEIN

         Exhibit No.                  Date                            Description
PSJ4 SOL Opp App A Exh 7–          2/1/2012      Email discussion between HS Regulatory Compliance
HSI-MDL-00020069                                 team discussing Concealing Diversion for Profits …
                                                 Concealing sales to self-medicating doctor due to large
                                                 sales volume
PSJ4 SOL Opp App A Exh 8–          2/27/2015     Email discussion between HS Regulatory Compliance
HSI-MDL-00039634                                 team regulatory concealing suspicious order …
                                                 “Please do not send a SO letter to the DEA.”
PSJ4 SOL Opp App A Exh 9–                        “Is it your understanding that prior to October 2017,
Bill Brandt Dep. (02/14/19),                     Henry Schein was not reporting orders when
Dkt. # 2804-17 at 145:25 – 146:8                 discovered – suspicious orders when discovered to the
                                                 DEA?” – A. “Yeah, I don’t know the exact date that
                                                 we changed, but we did change. I just don’t know the
                                                 date that we formally did -- make that change.”


                                              McKESSON

         Exhibit No.                  Date                            Description
PSJ4 SOL Opp App A Exh 10–         8/24/2011     McKesson’s internal policy not to even use the word
MCKMDL00000021 at 039                            “suspicious” in communications to ensure it would
                                                 not have to block shipments. That policy can be
                                                 found at page 20 of the PDF.
PSJ4 SOL Opp App A Exh 11–         4/25/2007     McKesson deceives DEA about nature of LDMP
MCKMDL00330924                                   program (in place in 2007 and 2008). McKesson
                                                 represented to DOJ that under the LDMP “customers
PSJ4 SOL Opp App A Exh 12–         12/10/2007    will not be allowed to exceed the 8,000 monthly
MCKMDL00540033                                   dosage limit until a due diligence review has been
                                                 completed.” (MCKMDL00330924 at 00330926; also

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                                              stamped MCK-HOI-002-0000001 at 0000003). But,
William de Gutierrez-Mahoney                  this is not how the program actually operated.
Dep. (11/28/18), Dkt. # 1966-                 Testimony from McKesson’s regulatory employees
12 at 584:11 - 17                             confirmed that the LDMP had no mechanism to
                                              block orders once the 8,000 unit threshold was met
                                              and while an investigation was ongoing. (11/28/18
                                              William Mahoney Depo. at 584:11-17). In fact,
                                              pharmacy customers were routinely permitted to
                                              exceed the 8,000 monthly dosage thresholds prior to a
                                              due diligence reviewing being completed by
                                              McKesson. (See e.g., MCKMDL00540033).


                   TEVA and Related Entities (Actavis, Allergan and Watson)

         Exhibit No.               Date                            Description
PSJ4 SOL Opp App A Exh 13–      2/11/2009     A senior manager from Actavis’ Customer Service
ALLERGAN_MDL_02128035                         Department informed her boss that the existing pre-
                                              merger Actavis SOM process was inadequate to
                                              “prevent shipping excess product.” “For starters,
                                              the report is not cumulative… if a customer's monthly
                                              usage is 3000 units they can order 2999 units every day
                                              of the month and it would not be caught.”
PSJ4 SOL Opp App A Exh 14–      5/3/2004      The Watson SOM system allowed customers to
ALLERGAN_MDL_01839001                         circumvent a hold on a suspicious order by either
at 002                                        canceling the order or cutting the quantity.
PSJ4 SOL Opp App A Exh 15–      2/9/2004      Any time there was a question during the order
ALLERGAN_MDL_02166476                         process of a suspicious order quantity, we went (and
                                              still follow the same procedure) back to a customer to
                                              let them know we would need to notify the DEA due
                                              to the quantity they wanted to order. In response, they
                                              either reduced the quantity or cancelled the order.



                                            JANSSEN

         Exhibit No.               Date                            Description
PSJ4 SOL Opp App A Exh 16–      2/16/2018     Janssen’s Director of Regulatory Compliance: “I don't
JAN-MS-05444782                               think we want to question release decisions after the
                                              fact.”

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PSJ4 SOL Opp App A Exh 17–        11/07/2017   Recognizing problems with its SOM program, while
JAN-MS-02967029                                evaluating a request for immediate enhancement,
                                               Janssen took the position that its SOM system “needs
                                               to be revamped to identify orders that are really
                                               ‘suspicious’ as these need to be reported to DEA,
                                               while maintaining its focus on all Schedule 2 orders as
                                               they may become a real ‘suspicious’ order but do not
                                               want to alert the DEA at this point”
PSJ4 SOL Opp App A Exh 18–        2/6/2018     While drafting an SOM report, instructions are
JAN-MS-05444648                                provided and implemented to delete a sentence
                                               reading:
                                               “SOM has not reported an order for controlled
                                               substances as suspicious during its time in operation.”
                                               (“Okay; sentence has been deleted!”)



                                         WALGREENS

         Exhibit No.                 Date                           Description
PSJ4 SOL Opp App A Exh 19-        2/4/2013     Walgreens admitted, “The orders the war room
WAGMDL00414048                                 members are able to investigate today, are a week old.
                                               In most cases these orders have already been
                                               shipped making it very hard for us to report any
                                               orders . . . .”
Edward Bratton Dep.                            Bratton testifies that in Walgreens' system when an
(12/16/18), Dkt. # 1959-10 at                  order had been reduced, not filled, that a store could go
258-259                                        to another store and “interstore.”
Bratton Dep., Dkt. # 1959-10 at                Bratton admits there had been 102,000 orders up to this
266-268 and Exhibit 26                         time in August of 2011 that had been flagged, cut,
                                               reduced and, according to the practices of Walgreens,
                                               not reported to the DEA as suspicious.
PSJ4 SOL Opp App A Exh 20-        10/2/2017    Describes process where Walgreens orders deemed
WAGMDL00133996                                 suspicious will be “intercepted at the time of
                                               release…and reduced to a non-suspicious level.”




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